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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

SAVE OUR COUNTY, INC.,                          ) CIVIL ACTION NO. 4:16-CV-1544-BYP
                                                )
Plaintiff,                                      )
                                                ) JUDGE BENITA Y. PEARSON
v.                                              )
                                                ) NOTICE OF SETTLEMENT
HERITAGE THERMAL SERVICES,                      )
INC.,                                           )
                                                )
Defendant.                                      )
                                                )
                                                )



        The Plaintiff hereby gives Notice to the Court that the Parties have reached a settlement

to resolve all claims in this matter. The Plaintiff respectfully requests 30 days in which to file a

motion for dismissal.




                                               Respectfully submitted,



                                               _/s/ James Yskamp_______________
                                               James Yskamp
                                               Ohio Bar No. 0093095
                                               Email: jyskamp@fairshake-els.org


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                                               Fair Shake Environmental Legal Services
                                               159 S. Main Street, Suite 1030
                                               Akron, Oh 44308
                                               Telephone: (234) 571-1970
                                               Attorney for Plaintiff, Save Our County, Inc.




                                 CERTIFICATE OF SERVICE

    I, James Yskamp, hereby certify that a true and correct copy of the foregoing Notice was
filed electronically on May 1, 2017. Notice of this filing will be sent to all registered parties by
operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.




Date: 5/1/2017                                 By: _/s/ James Yskamp_________
                                                    James Yskamp




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